Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 1 of 10 PageID #: 112




                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,
                                                           Civil Action No. 2:16-CV-451-JRG
                               Plaintiff,                           (consolidated)

                                                           Civil Action No. 2:16-CV-450-JRG
                  v.                                                  (lead case)

TEXAS BANK AND TRUST COMPANY,
                                                           JURY TRIAL DEMANDED
                               Defendant.



ANSWER AND ADDITIONAL DEFENSES OF TEXAS BANK AND TRUST COMPANY

         Defendant Texas Bank and Trust Company (“TBT” or “Defendant”), by and through its

undersigned counsel, hereby responds to the Complaint (“Complaint”) of Symbology Innova-

tions, LLC (“Symbology” or “Plaintiff”), in accordance with the numbered paragraphs thereof

as follows, upon information and belief, denying Plaintiff’s allegations and averments except

that which is expressly admitted herein:

                         RESPONSE TO INTRODUCTORY PARAGRAPH

         TBT admits that Plaintiff purports to bring an action for patent infringement related to

U.S. Patents No. 8,424,752, No. 8,651,369, and No. 8,936,190 (which are referred to as the

“’752 Patent,” “the ‘369 Patent,” and the “’190 Patent” respectively, and the “Asserted Patents”

collectively) but denies that Plaintiff is entitled to any relief from TBT.

                                      PARTIES AND JURISDICTION

         1.       TBT admits that the Complaint purports to set forth an action for patent in-

fringement under Title 35 of the United States Code and that Plaintiff purports to seek injunctive

relief as well as damages, but denies that Plaintiff is entitled to any relief from TBT.


{A55/08616/0008/W1412000.1 }                      1
Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 2 of 10 PageID #: 113




         2.       TBT admits that the Complaint purports to set forth an action for patent in-

fringement under the Patent Laws of the United States, and that this Court has subject matter

jurisdiction over this case for patent infringement under 28 U.S.C. §§ 1331 and 1338(a).

         3.       TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 3 of the Complaint and, therefore, denies such

allegations.

         4.       TBT admits that it is a Texas corporation with a principal place of business at

300 East Whaley, Longview, TX 75601. TBT admits that it may be served via its registered

agent for service of process at 300 East Whaley, Longview, TX 75601.

         5.       TBT admits that it conducts business in the state of Texas, but denies the remain-

ing allegations contained in paragraph 5.

         6.       TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 6 of the Complaint and, therefore, denies such

allegations.

                                               VENUE

         7.       TBT admits that it is deemed to reside in this district and does not contest venue

in this district for purposes of this action only. TBT denies all remaining allegations contained

in paragraph 7 of the Complaint.

                               COUNT I
      ([ALLEGED] INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

         8.       TBT incorporates the answers set forth in paragraphs 1 through 7 by reference as

if fully set forth herein.




{A55/08616/0008/W1412000.1 }                       2
Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 3 of 10 PageID #: 114




         9.       TBT admits that the Complaint purports to set forth an action for patent in-

fringement under the Patent Laws of the United States, but denies the remaining allegations con-

tained in paragraph 9.

         10.      TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 10 of the Complaint and, therefore, denies such

allegations.

         11.      TBT admits that a purported copy of the ‘752 Patent is attached to the complaint

as Exhibit A and that the face of the patent indicates that it is entitled “System and Method for

Presenting Information about an Object on a Portable Electronic Device.” TBT is without

knowledge or information sufficient to confirm or deny if the document attached as Exhibit A is

a true and correct copy of the ‘752 Patent. TBT denies the remaining allegations of paragraph

11.

         12.      TBT denies the allegations contained in paragraph 12 of the Complaint.

         13.      TBT denies the allegations contained in paragraph 13 of the Complaint.

         14.      TBT denies the allegations contained in paragraph 14 of the Complaint.

         15.      TBT          admits   that   a   purported   “partial   screen   shot”   of   the

www.texasbankandtrust.com website from an undetermined time referencing the TBT gomobile

app is included in the Complaint at paragraph 15. TBT denies the remaining allegations of par-

agraph 15.

         16.      TBT denies the allegations contained in paragraph 16 of the Complaint.

         17.      TBT denies the allegations contained in paragraph 17 of the Complaint.




{A55/08616/0008/W1412000.1 }                         3
Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 4 of 10 PageID #: 115




         18.      TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 18 of the Complaint and, therefore, denies such

allegations.

         19.      TBT denies the allegations contained in paragraph 19 of the Complaint.

         20.      TBT denies the allegations contained in paragraph 20 of the Complaint.

         21.      TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 21 of the Complaint and, therefore, denies such

allegations.

                               COUNT II
      ([ALLEGED] INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

         22.      TBT incorporates the answers set forth in paragraphs 1 through 21 by reference

as if fully set forth herein.

         23.      TBT admits that the Complaint purports to set forth an action for patent in-

fringement under the Patent Laws of the United States, but denies the remaining allegations con-

tained in paragraph 23.

         24.      TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 24 of the Complaint and, therefore, denies such

allegations.

         25.      TBT admits that a purported copy of the ‘369 Patent is attached to the complaint

as Exhibit B and that the face of the patent indicates that it is entitled “System and Method for

Presenting Information about an Object on a Portable Electronic Device.” TBT is without

knowledge or information sufficient to confirm or deny if the document attached as Exhibit B is

a true and correct copy of the ‘369 Patent. TBT denies the remaining allegations of paragraph

25.

{A55/08616/0008/W1412000.1 }                      4
Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 5 of 10 PageID #: 116




         26.      TBT denies the allegations contained in paragraph 26 of the Complaint.

         27.      TBT denies the allegations contained in paragraph 27 of the Complaint.

         28.      TBT denies the allegations contained in paragraph 28 of the Complaint.

         29.      TBT          admits   that   a   purported   “partial   screen   shot”   of   the

www.texasbankandtrust.com website from an undetermined time referencing the TBT gomobile

app is included in the Complaint at paragraph 29. TBT denies the remaining allegations of par-

agraph 29.

         30.      TBT denies the allegations contained in paragraph 30 of the Complaint.

         31.      TBT denies the allegations contained in paragraph 31 of the Complaint.

         32.      TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 32 of the Complaint and, therefore, denies such

allegations.

         33.      TBT denies the allegations contained in paragraph 33 of the Complaint.

         34.      TBT denies the allegations contained in paragraph 34 of the Complaint.

         35.      TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 35 of the Complaint and, therefore, denies such

allegations.

                               COUNT III
      ([ALLEGED] INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

         36.      TBT incorporates the answers set forth in paragraphs 1 through 35 by reference

as if fully set forth herein.

         37.      TBT admits that the Complaint purports to set forth an action for patent in-

fringement under the Patent Laws of the United States, but denies the remaining allegations con-

tained in paragraph 37.

{A55/08616/0008/W1412000.1 }                         5
Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 6 of 10 PageID #: 117




         38.      TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 38 of the Complaint and, therefore, denies such

allegations.

         39.      TBT admits that a purported copy of the ‘190 Patent is attached to the complaint

as Exhibit C and that the face of the patent indicates that it is entitled “System and Method for

Presenting Information about an Object on a Portable Electronic Device.” TBT is without

knowledge or information sufficient to confirm or deny if the document attached as Exhibit C is

a true and correct copy of the ‘190 Patent. TBT denies the remaining allegations of paragraph

39.

         40.      TBT denies the allegations contained in paragraph 40 of the Complaint.

         41.      TBT denies the allegations contained in paragraph 41 of the Complaint.

         42.      TBT denies the allegations contained in paragraph 42 of the Complaint.

         43.      TBT          admits   that   a   purported   “partial   screen   shot”   of   the

www.texasbankandtrust.com website from an undetermined time referencing the TBT gomobile

app is included in the Complaint at paragraph 43. TBT denies the remaining allegations of par-

agraph 43.

         44.      TBT denies the allegations contained in paragraph 44 of the Complaint.

         45.      TBT denies the allegations contained in paragraph 45 of the Complaint.

         46.      TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 46 of the Complaint and, therefore, denies such

allegations.

         47.      TBT denies the allegations contained in paragraph 47 of the Complaint.

         48.      TBT denies the allegations contained in paragraph 48 of the Complaint.


{A55/08616/0008/W1412000.1 }                         6
Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 7 of 10 PageID #: 118




         49.      TBT is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 49 of the Complaint and, therefore, denies such

allegations.

                                      PRAYER FOR RELIEF

         TBT denies that Plaintiff is entitled to any of the relief requested in the Complaint, and

specifically denies each and all of the allegations and prayers for relief contained in paragraphs

(a)-(e) of Plaintiff’s Prayer for Relief.


                                    ADDITIONAL DEFENSES

         Further answering the Complaint, and as additional defenses thereto, TBT asserts the fol-

lowing additional defenses, without assuming the burden of proof when the burden of proof on

any issue would otherwise rest with the Plaintiff. TBT expressly reserves the right to amend its

answer and defenses as additional information becomes available and/or is otherwise discov-

ered.

                                FIRST ADDITIONAL DEFENSE

         TBT has not infringed, and does not infringe, any valid and enforceable claim of the As-

serted Patents, whether directly, indirectly, willfully, individually, jointly, contributorily, and/or

by inducement, either literally or under the doctrine of equivalents.

                               SECOND ADDITIONAL DEFENSE

         Plaintiff is wholly or partially barred from the relief that it seeks because one or more

claims of the Asserted Patents are invalid for failure to comply with one or more requirements of

the patent laws of the United States, 35 U.S.C. § 100, et seq., including, but not limited to, one

or more of 35 U.S.C. §§ 101, 102, 103, and 112.




{A55/08616/0008/W1412000.1 }                      7
Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 8 of 10 PageID #: 119




                                THIRD ADDITIONAL DEFENSE

         By reason of the proceedings at the United States Patent and Trademark Office during

prosecution of the applications leading to the issuance or re-issuance of the Asserted Patents,

Plaintiff is estopped from asserting that TBT has infringed, either literally or under the doctrine

of equivalents, claims of the Asserted Patents.

                               FOURTH ADDITIONAL DEFENSE

         Plaintiff’s attempted enforcement of the Asserted Patents against TBT is barred by one

or more of the equitable doctrines of laches, estoppel, acquiescence, waiver, and unclean hands.

                                FIFTH ADDITIONAL DEFENSE

         The claims of the Asserted Patents are not entitled to a scope sufficient to encompass any

system employed or process practiced by TBT or its customers.

                                SIXTH ADDITIONAL DEFENSE

         Plaintiff’s claims for damages, if any, are limited by 35 U.S.C. § 286.

                               SEVENTH ADDITIONAL DEFENSE

         Plaintiff is not entitled to past damages or any other remedy under 35 U.S.C. §§ 284 or

285 with respect to any alleged infringement by TBT of the claims of the Asserted Patents to the

extent that Plaintiff, any predecessor owners, and/or licensees of the Asserted Patents have not

complied with the notice and/or marking requirements of 35 U.S.C. § 287.

                               EIGHTH ADDITIONAL DEFENSE

         Plaintiff is not entitled to any injunctive relief because Plaintiff has, at a minimum, no ir-

reparable injury and an adequate remedy at law.




{A55/08616/0008/W1412000.1 }                       8
Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 9 of 10 PageID #: 120




                                 NINTH ADDITIONAL DEFENSE

         The Asserted Patents are unenforceable as a result of inequitable conduct in their pro-

curement. Upon information and belief, the named inventor of the Asserted Patents, Leigh

Rothschild, his assignee Reagan Innovations, LLC, and / or their representatives, had knowledge

of material, noncumulative prior art regarding the Asserted Patents and, on information and be-

lief, deliberately withheld the material, non-cumulative prior art from disclosure to the United

States Patent and Trademark Office (“USPTO”) during prosecution of the Asserted Patents with

the intent to deceive the examiner and the USPTO.


                                       PRAYER FOR RELIEF

         WHEREFORE, Texas Bank and Trust Company denies that Plaintiff is entitled to any

relief as prayed for in the Complaint or otherwise and, accordingly, respectfully prays for entry

of judgment:

         A.       Dismissing Plaintiff’s Complaint against TBT, with prejudice;

         B.       Denying all relief requested by Plaintiff’s in its complaint;

         C.       Awarding to TBT its reasonable attorneys’ fees, expenses, and costs in-

                  curred in connection with this action, pursuant to 35 U.S.C. § 285; and

         D.       Awarding to TBT such other and further relief as the Court may deem

                  just and proper under the circumstances.




                                   DEMAND FOR JURY TRIAL

         TBT hereby demands a trial by jury on all issues so triable under Federal Rule of Civil

Procedure 38(b).


{A55/08616/0008/W1412000.1 }                        9
Case 2:16-cv-00450-JRG Document 24 Filed 07/05/16 Page 10 of 10 PageID #: 121




Dated: July 5, 2016                                 Respectfully submitted,

                                                    /s/ Michael E. Jones
                                                    Michael E. Jones
                                                    State Bar No. 10929400
                                                    mikejones@potterminton.com
                                                    Daniel A. Noteware, Jr.
                                                    State Bar No. 24051123
                                                    dannynoteware@potterminton.com
                                                    POTTER MINTON, P.C.
                                                    110 North College, Suite 500
                                                    Tyler, Texas 75702
                                                    Telephone: (903) 597-8311
                                                    Facsimile: (903) 593-0846

                                                    ATTORNEYS FOR DEFENDANT
                                                    TEXAS BANK AND TRUST COMPANY




                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have con-

sented to electronic service are being served with a copy of this document via the Court's

CM/ECF system per Local Rule CV-5(a)(3) on July 5, 2016.


                                             /s/        Michael E. Jones




{A55/08616/0008/W1412000.1 }                       10
